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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



NATURAL RESOURCES DEFENSE                                           CIVIL ACTION
COUNCIL INC., ET AL

VERSUS                                                              NO. 22-1117

JANET COIT, ET AL                                                   SECTION: "I" (5)



                                           ORDER

       The undersigned United States District Judge recuses himself from further participation in

this case pursuant to 28 U.S.C. § 455(a). The Clerk of Court is ORDERED to reallot the above-

captioned case to another section of court. All dates remain in effect unless modified by the judge

to whom this case is transferred.

       New Orleans, Louisiana, this 26th day of April, 2022.


April
June 26,
      11, 2022
          2018


                                                   LANCE M. AFRICK
                                             UNITED STATES DISTRICT JUDGE
